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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division




      MARTIN J. WALSH,
      Secretary of Labor, United States Department of Labor,

                             Plaintiff,

                                                              Case No. 2:18cv226
                        v.



     MEDICAL STAFFING OF AMERICA, LLC, et al.,

                             Defendant.



                                   JUDGMENT IN A CIVIL CASE



       Decision by the Court. This action came for trial before the Court.
       The issues have been considered and a decision has been rendered.


     IT IS ORDERED AND ADJUDGED that JUDGMENT IS ENTERED FOR PLAINTIFF,
     and Defendants are ENJOINED from committing further violations of the FLSA.

     January 13, 2022                                  FERNANDO GALINDO, Clerk



                                                       By        /s/
                                                       T. Armstrong, Deputy Clerk
